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                 WESTERN DISTRiCT OF VIRCINIA (HARRIjONBURG)


WARXEH EVANS JR .,
PET ITIONER

7
UNITED STATES OF AMERICA

RESPONDENTS                                    CASE NO. 5:15-cr-90O20-MFU-1



                           MOTION F0R AVTOPSY REPORTS


      comes now Petitioner Warren Evans            wùo moves this Honorable
                                         '        ' .       '
         .

court to give him the àutopsf repo/ts in t%e àbove èase number.
From the enclosed exhibit #1, The Bostic Law Firm stated on August
13 , 2017 that they were going to prov ide these reports but to this
date with du e dilligence, Petitioner Evans has still not received such
Jencks Act Material under 18 USc 3500. Petitioner states that pursuant
to Federal Rules of criminal Procedure 16(E) DOCUMENTS AND OBJECTS--
Upon a defendan t's request, the government must permit th 1 defeùdant
to inspect and to copy or photograph books, papers, documepts, data,
             2
photographs) tangible objects, buildings or places, or copies or
portions of any of these items, if th e item is within the governments
Possession , clsstody , or control and ;

(i) 'rhe item is material to prepari'
                                    ng the defense;




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     The government intends to use the item in its case-in-chief at
trial ; or

(F) REPORTS OF EXAMISATIOSS AND TESTS---
vpon a defendant's request, the government miTst permi.t a defendant to
ins.
   pec.t-and.to copy or photograph the reslllts or reports of any .physical
or mental examination and of any scientific l test or experiment if:
    The item is within the governmen tîs possession , custody , or control;

(iilThe attorney for the government knows or through due dilligence could
know that th e item exists; and

(iii) The item is.
                 ::material to preparing the defense or the government
intends to kuse the item in its case-in-chief at trial .


Petitioner Warren Evans states and asserts that he is entitled to a
copy of these Autopsy Results in preparing for his Post-conviction-
Relief in the above case number .


Petitioner karren Evans states that this Motion           made in good faith
and not to delay or harass the Court in any manner .



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j rgyom-#vsaj
Marrén Evans
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United States Penitentiary
CANAAN-P .O . BOX 300
Waymart , Pa . 18472




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                                  CERTIFICATE 0F SERVICE
case Nlzmber 5 p1 5-cr r 0002O
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                             Evan. do hereby certify that on Mqrch êb , 2018
that 1 mailed a true and correct copy of the foregoing instrument to the
following belb, by depositing this instrument in the US MAILROOM MAILBOX
here at USP CANAAN using the correct US POSTAGE .




1 . Clerk 0f Court
    tnited States District Court
    Western District Of Virginia (Harrisonburg)
    116 N . Main Street Room 314 .
    Harrisonburg , VA . 22802


     Erin Marie Harrigan Kùlpa
    tnitld States Attorneyé Office
    Western District Of Virginia
    255 W est main Street, Room 13O
    Charlottesville , VA 22902


     CC :
     Mr. Warren Evans#589O2-O37
     PSP GANAAN PO B0X 3O0
     WAYHART, PA. 18472




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